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 2
                                  UNITED STATES DISTRICT COURT
 3
                                          DISTRICT OF NEVADA
 4
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 5
      David Levoyd Reed,                                    Case No. 2:19-cv-00326-JAD-BNW
 6
                             Plaintiff,
 7                                                          ORDER
            v.
 8
      James Dzurenda, et al.,
 9
                             Defendants.
10

11
            The United States Postal Service was unable to deliver a recent order of this Court to
12
     Plaintiff. (See ECF No. 59.) Thus, it appears that he is no longer at the address on file with the
13
     court. Under Local Rule IA 3-1,
14
            An attorney or pro se party must immediately file with the court written
15          notification of any change of mailing address, email address, telephone number, or
16          facsimile number. The notification must include proof of service on each
            opposing party or the party’s attorney. Failure to comply with this rule may result
17          in the dismissal of the action, entry of default judgment, or other sanctions as
            deemed appropriate by the court.
18
     Plaintiff must file a notice with his current address with the Court by January 29, 2021. Failure to
19
     comply with this order will result in a recommendation to the district judge that this case be
20
     dismissed.
21
            IT IS SO ORDERED.
22
            DATED: January 11, 2021.
23

24
                                                           BRENDA WEKSLER
25                                                         UNITED STATES MAGISTRATE JUDGE
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